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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                             WESTERN                                                  DISTRICT OF                                         TEXAS



               UNITED STATES OF AMERICA                                                                          EXHIBIT AND WITNESS LIST
                                        V.
                                                                                                                       Case Number: SA:21-CR-00226(1)-XR
                           EDUARDO BACA
PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 XAVIER RODRIGUEZ                                                   DAPHNE NEWAZ                                              ALEX SCHARFF
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 OCTOBER 5, 2022                                                    GIGI SIMCOX                                               SYLVIA HERNANDEZ
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

            D-1       10/5/2022           D-1                       CERTIFICATE OF COMPLETION-SUCCCESSFULLY COMPLETING BEHAVIOR CHANGE

            D-2       10/5/2022           D-2                       CERTIFICATE OF COMPLETION FOR SUCCESSFULLY COMPLETING CONFLICT RESOLUTION

            D-3       10/5/2022           D-3                       CERTIFICATE OF COMPLETION FOR SUCCESSFULLY COMPLETING CAREER RESOURCES

            D-4       10/5/2022           D-4                       CERTIFICATE OF COMPLETION FOR SUCCESSFULLY COMPLETING ENTRENEURSHIP

            D-5       10/5/2022           D-5                       CERTIFICATE OF COMPLETION FOR SUCCESSFULLY COMPLETING EXERCISING

            D-6       10/5/2022           D-6                       CERTIFICATION OF COMPLETION FOR SUCCESSFULLY COMPLETING COMMUNITY REUNIFICATION

            D-7       10/5/2022           D-7                       CERTIFICATION OF COMPLETION FOR SUCCESSFULLY COMPLETING SUBSTANCE ABUSE EDUCATIO

            D-8       10/5/2022           D-8                       CERTIFICATE OF COMPLETION FOR SUCCESSFULLY COMPLETING TIME MANAGEMENT

            D-9       10/5/2022           D-9                       CERTIFICATE OF COMPLETION FOR SUCCESSFULLY COMPLETING ANGER MANAGEMENT

           D-10       10/5/2022           D-10                      CERTIFICATE OF COMPLETION FOR SUCCESSFULLY COMPLETING BASIC EDUCATION




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages
